         Case 3:07-cr-00765-MHP Document 298 Filed 01/26/11 Page 1 of 1



                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA

                      UPDATED CRIMINAL JURY TRIAL MINUTES

Date: January 26, 2011

Case No.     CR 07-0765 MHP                   Judge: MARILYN H. PATEL

Title: UNITED STATES -v- MENDEL BEKER (b); ARIE PRILIK (b);
                         NEWCON INTERNATIONAL

Attorneys:   Plf: Jeane Hamilton, David Ward, Richard Cohen, Anna Pletcher
             Dft: William Osterhoudt, Jonathan Howden, Frank Moore, Martha Boersch

Deputy Clerk: Anthony Bowser Court Reporter: Lydia Zinn, Debra Pas

                                         PROCEEDINGS

1) Jury Trial, Day 10


                                ORDERED AFTER HEARING:

08:30 Court resumes in presence of jurors;
      Defendant calls Geoffrey Bean for direct exam by attorney Moore;

09:40 Direct Exam of witness Bean by attorney Howden;

09:41 Cross exam of witness Bean by attorney Pletcher;
      Witness excused;

10:00 Jurors recessed to 8:30 am on 1/27/2011;
      Remaining witness list given;

10:05 Morning Recess;

10:55 Court resumes outside presence of jurors with continued discussion of Rule 29 by
      attorneys Boersch and Pletcher;
      Final Jury Instructions discussed and resolved.

01:00 Court in recess to 8:30 a.m. on 1/27/2011.

04:00 Court resumes with continued discussion of Rule 29 motion;
      Court to grant Rule 29 motion pending further ruling;
      Supplemental Briefing to be submitted by 2/2/2011;
      Jurors subject to all prior Jury Instructions subject to further notification.

05:07 Court in recess.
